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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                West Palm Beach Division
                                  www.flsb.uscourts.gov

 In re:                                                   Case No. 20-18361-BKC-MAM

 MELANIE HOLLINGSWORTH CABOT,                             Chapter 13

       Debtor.
 _______________________________________/

 SUSAN BACH, BOB MURPHY and                               Adv. Case No.
 INFOSAGE CORPORATION, a foreign
 corporation,

           Plaintiffs,
 vs.

 MELANIE HOLLINGSWORTH CABOT,

       Defendant.
 _______________________________________/

  COMPLAINT OBJECTING TO THE DISCHARGEABILITY OF CERTAIN DEBTS

          Susan Bach (“Bach”), Bob Murphy (“Murphy”) and Infosage Corporation (“Infosage”), a

foreign corporation (collectively, the “Plaintiffs”), by counsel, pursuant to 11 U.S.C. §§ 523 and

1328, bring this Complaint Objecting to the Dischargeability of Certain Debts against Melanie

Hollingsworth Cabot (“Cabot” or the “Defendant” or the “Debtor”), and allege as follows:

                                       Jurisdiction and Venue

          1.      This case was commenced by the filing of a voluntary Chapter 13 petition on July

31, 2020 (the “Petition Date”) by the Defendant.

          2.      This is an action objecting to the dischargeability of certain debts owed to the

Plaintiffs, pursuant to 11 U.S.C. §§ 523 and 1328.

          3.      This is a core proceeding and this Court has jurisdiction over this action pursuant

to 28 U.S.C. §§ 157 and 1334 and Fed. R. Bankr. P. 7001.

          4.      Venue is proper herein pursuant to 28 U.S.C. §§ 1408 and 1409.



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                                                Parties

       5.      Susan Bach is an individual who is a resident of the Commonwealth of

Massachusetts and is owed certain debt(s) as described herein.

       6.      Bob Murphy is an individual who is a resident of the Commonwealth of

Massachusetts and is owed a debt as described herein.

       7.      Infosage Corporation is a corporation organized pursuant to the law of the

Commonwealth of Massachusetts and is owed a debt as described herein.

       8.      Melanie Hollingsworth Cabot is the Debtor herein.

                                   Cabot – Murphy Enterprise

       9.      Murphy holds engineering degrees from Wentworth Institute of Technology and

Arizona State University. He worked at Perini Construction Corporation for thirty-two years and

rose to the position of project manager. He was involved in large development projects, including

airports in Phoenix, Arizona and Las Vegas, Nevada, a casino in Las Vegas, and road designs for

Boston's Big Dig project.

       10.     Murphy met Cabot in 2001 through a gourmet club that Cabot organized. They

became friends, and Cabot discussed the fact that she was designing a guide to Boston restaurants.

After some conversation, she revealed that her true plan was to publish a parking guide for the

city, similar to a guide she had seen in New York City.

       11.     Murphy was enthused about the project and offered to assist Cabot. Together,

they drove around the Boston area noting the location of parking lots and garages and their

established rates. In the winter of 2002, Murphy joined Cabot at her ski lodge in New Hampshire.

While there, Murphy inputted the data they had collected into Lotus spreadsheets on Cabot's

computer. Cabot was impressed with the result and told Murphy that they should become partners


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in the venture. An oral agreement to work together was reached in April, 2002.

       12.     Murphy and Cabot decided that their guide should include maps showing the

location of various restaurants and attractions and listing (and showing) nearby parking facilities

with posted rates and hours. Because most maps are copyright protected, Murphy identified a

Florida company called Creative Force that sold map templates that could be used and revised.

       13.     Murphy purchased the Creative Force maps and instructed Cabot to purchase

software for her computer that would accept the map templates. Through the first half of 2003,

Murphy endeavored to revise the template maps to reflect development changes in Boston, most

notably, the new Seaport District, new tunnels, and changed roadways. He developed a series of

individual maps, dividing the city into seventeen different sections. Within each section, Murphy

identified parking lots and garages with a circled number matched to an index describing the lot

or garage, its capacity, hours, and posted rates. He also included a "Useful Information" section,

detailing general facts about the city, parking and tow laws, and the like.

       14.     As Murphy gathered information and created drafts of the parking guide, he would

forward them to Cabot for review and comment.

       15.     In early August, 2003, Murphy and Cabot incorporated their venture under the

name "Infosage, Inc." Murphy was listed as president and Cabot was treasurer and clerk. The

business address was listed as Murphy's home address in Southboro, Massachusetts. Murphy

and Cabot served as the only two directors of Infosage. They held an organizational meeting on

August 3, 2003 and agreed to issue 1,000 shares of stock divided equally between them. It was

agreed that the company would develop bylaws, to include restrictions on the transfer of stock.

They also agreed that costs that either one had incurred, or would incur with regard to the project,

would constitute loans to the corporation, to be repaid from revenues generated by the company's
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publications.

       16.      In the early fall of 2003, Murphy and Cabot worked on developing their parking

guide. They retained a web designer, Dmitry Yurevich, whom Cabot was familiar with through

her gourmet club business, to create an Infosage website (Murphy had purchased the domain

name) and contracted with Saltus Press, a printing company in Worcester, Massachusetts to print

the guide. Murphy approved the final mock-up at a meeting with the printer in Worcester on

October 3, 2003. Cabot was invited to attend but declined, telling Murphy that the 8:30 a.m.

meeting time was "too early in the morning."

       17.      Following Murphy's approval of a mock-up of the guide in early October, 2003,

Saltus printed 2,500 copies of the eighty-page Guide to Boston Parking (the "Guide"). The first

printing of the Guide used the wrong sized metal binding, and the copies were returned to Saltus

for rebinding. Murphy and Cabot each advanced half of the total $10,625 printing costs. The

plan was to sell the Guide at a posted price of $16.95, through the Infosage website, processing

credit cards through a credit card terminal managed by Cabot. When a book was ordered through

the website, Cabot would notify Murphy, who then shipped the book from the stock stored at his

house. Because Murphy had been primarily responsible for getting the book to publication, it

was assumed that Cabot would have primary responsibility for marketing the product.

Nonetheless, Murphy solicited a local barber shop in his hometown to advertise the Guide, using

a countertop display that Murphy had obtained.

       18.      Murphy and Cabot held a business meeting at a Boston hotel on November 27,

2003. They reviewed various business functionalities and reviewed the corporate finances. As

of that time, the two had paid out $15,701.90 in development costs and projected $6,434.90 in

future expenses. According to a detailed financial summary prepared by Murphy, Cabot's
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financial contributions were $1,615.70 less than Murphy's.

       19.     During December, 2003, Murphy e-mailed Cabot five times regarding various

sales issues but received no reply. Frustrated, he left Cabot a telephone message on January 12,

2004 demanding a reply. The following day, Cabot responded by e-mail, stating that she had not

received his earlier e-mails and suspected that they had been filtered by an anti-spam program

she had installed on her computer. Cabot wrote that she had solicited views of advertising

executives and several authors who endorsed the concept of a parking guide but criticized the

Guide 's design and layout. She stated that as a result of the critiques, she had ceased marketing

the Guide and had a scheduled meeting with a design firm on January 14, 2004. Cabot said that

once she received an estimate of the costs and time necessary to revise the Guide, she would be

in touch.

       20.     Tensions between Murphy and Cabot escalated as they disagreed on a future

course of action. Cabot identified numerous errors in the book (which Murphy acknowledged).

Murphy wanted to continue marketing and selling the first edition of the Guide since he had

several thousand copies stored in his house.

       21.     Cabot said that she had a design consultant working on a redesign and insisted that

Murphy copy the book onto a compact disc that the consultant could use. On February 14, 2004,

the two met for a business meeting at a Legal Sea Foods restaurant. Cabot informed Murphy that

she wanted to terminate the business, having concluded that the Guide was not marketable, and

the concept of a parking guide was a bad idea, since most parking lots were "mob-owned" and

frowned on publicity.

       22.     Murphy objected, indicating that he wanted to keep sales efforts going. Cabot

stated that she wanted to buy the company's credit card terminal because she could use it in her
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gourmet food business, but Murphy refused, stating that he needed it to process sales orders.

       23.     The terminal was important because it complied with new federal regulations for

only imprinting partial credit card numbers. Murphy was the source of monies ($524) for the

purchase of the terminal on November 26, 2003.

       24.     Relations between Murphy and Cabot following the February 14, 2004 dinner

meeting were hostile. The Infosage website, under the control of Dmitry Yurevich, was taken

down at Cabot's instruction, essentially gutting Infosage's ability to sell the Guide. By e-mail

dated April 14, 2004, Cabot reiterated that she no longer wanted to be involved and had drawn

up papers to dissolve the corporation. She instructed Murphy to send her all the financial

statements, after which they could "move towards finalizing this business."

       25.     By e-mail on April 24, 2004, Murphy stated that he had no intention of dissolving

Infosage but that if Cabot were to withdraw from the business, they would have to determine

what it would cost her to do so. Murphy objected to Cabot's instruction to Yurevich to disable the

website and stated that the account could be switched over to his name so she would not be

bothered with unwanted messages. He next wrote:

        You are not authorized to take any actions on behalf of the corporation that will
       undermine, disable, or negatively impact the accounts, agreements, or systems put
       in place by the corporation, or allow the equipment or protected content belonging
       to the corporation to be used for other purposes, or permit the same to take place,
       without agreement from me. This pertains to any past or future actions.

       26.     In July, 2004, Cabot resigned from Infosage. Ten days after she submitted her

written letter of resignation, Cabot received a price quote from Star Printing for an eighty-page

book described as Guide to Boston Parking. The customer was listed as The Single Gourmet,

Cabot's dinner club.

       27.     She and Murphy met at a Fleet Bank where Cabot removed her name from the

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corporate bank account. She stated that she would instruct Yurevich to restore the Infosage

website if Murphy would sign a licensing agreement that Cabot had prepared. The licensing

agreement would permit her full use of the Guide material. Murphy refused. He continued to

demand that Cabot arrange for the website to be restored, as well as for the return of corporate

property. His communications went unanswered until September 20, 2004 when he received a

telephone call from Cabot. She stated, "as soon as you sign the license agreement then we can

part amicably."

       28.     When Murphy spoke of his desire to obtain the credit card terminal Cabot

responded, "No, we can't get into that discussion until you agree to sign the license agreement."

When asked why the licensing agreement was so important, Cabot said that it was simply

something she wanted for her files. The two argued back and forth, Cabot stating that she was

simply trying to recoup some of the monies she had put into the venture.

       29.     The credit card terminal was of interest to both; Murphy needed it to continue

with the sale of books, and Cabot stated it was an asset she could use, and its value would defray

her losses in the corporation. Cabot repeatedly directed the conversation to her need for a

licensing agreement, telling Murphy, "All I am asking for [sic] one thing. You can make your

life a lot easier and can start selling tomorrow.   You sign the license agreement, and it is all

yours. If you don't, you are making life difficult for yourself." No resolution was reached.

       30.     Between August and November, 2004, Murphy sought to gain control over the

Infosage website. The original site and domain name was issued under Cabot's name and was

maintained by Cabot's associate, Dmitry Yurevich. Yurevich took direction only from Cabot

and refused Murphy's requests that he restore the site. As a result, Murphy made arrangements

through an international domain name provider, ICANN, to restore the domain name,

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"Infosage.com" to the corporation. Thereafter, he hired a new web designer, Steady Vision, to

access the site and redesign its content. A new website became operational at the end of

November, 2004.

       31.     Unfortunately for Murphy, the Guide was then a year old and some of the

information was obsolete. In December, Murphy was able to sell 14 books, and a total of 174

guides were sold in calendar year 2005. In total, 605 of the 2,500 copies of the Guide were

distributed through 2008. Based on a sales price of $16.95 per guide, Infosage (Murphy)

received $7,203.75 in gross revenues.

       32.     Between the fall of 2003 and her formal resignation from Infosage in July, 2004,

Cabot actively pursued the parking guide venture in ways undisclosed to Murphy. In October,

she formed Parking Media, LLC as a Delaware corporation. Cabot retained a graphic designer,

Howie Green, to redesign the Guide using a digital version of the Guide. According to Cabot,

she knew the maps and other content were copyright protected and proprietary to Infosage but

claimed that they were only serving as a placeholder for better maps and parking data.

       33.     Acknowledging that she was not acting on behalf of Infosage, Cabot did not view

her efforts as breaching any duty owed to Infosage or in competition with it because her revised

product "would be better" than the Infosage Guide. Cabot also purchased an internet domain

name "'WheretoPark.com."

       34.     The $8 purchase price was listed as a corporate expense in Infosage's corporate

minutes dated November 27, 2003.

                                   Cabot-Bach Enterprise

       35.     In January, 2004, Cabot called Susan Bach and suggested they meet at a local Au

Bon Pain restaurant in Boston. Bach, a 1980 graduate of Wellesley College and a 1984 graduate
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of Suffolk University Law School, was married to Cabot's father for fifteen years (separating in

1995). Bach worked in television production for four years before founding Anniversary

Publishing Company, a small publishing company that focused on retail and government

publications.

       36.       Cabot brought a copy of the Guide with her and said that she had created it with

another person who was no longer interested in producing it. Cabot suggested that Bach join her

in producing a better version of the Guide.

       37.       Bach expressed enthusiasm for the project, saying that with the completion of the

Big Dig in Boston, the timing for such a product was good. A couple of weeks later, Bach told

Cabot that she had a scheduled meeting with Yankee Magazine and would be willing to gauge

their interest in the Guide. At the same time, Bach asked Cabot if there was anyone else with a

proprietary interest in the Guide, and Cabot responded that she had worked on the book with Bob

Murphy. She stated that Murphy had a full-time job and had no desire to continue with the project

so that Cabot now owned the full rights to the Guide and its contents.

       38.       Bach acknowledged that she had met Murphy once at one of Cabot's dinner

functions.      She accepted Cabot's representation that Murphy had backed out of the project

without further inquiry.

       39.       Bach was intrigued by the concept of a parking guide and the prospect of an

internet presence for the Guide. She informed Cabot that she had a meeting scheduled with

Yankee Magazine and would be happy to pitch the Guide. Cabot responded by e-mail on

February 10, 2004, writing, "This e-mail serves to authorize Susan Bach to introduce you to my

publication [sic] the ''Guide to Boston Parking."

       40.       The e-mail also referenced that sharing the Guide was subject to "NDA and Non-

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Compete Agreements to follow." Bach reported back to Cabot that Yankee was impressed with

the concept of a parking guide.

       41.     Using the Infosage Guide as a prototype, Bach arranged meetings to solicit input

and interest from others, including an aide to a senior executive at Starbucks (no interest), the

Greater Boston Visitors Bureau, and Boston.com. At the same time, Cabot was marketing the

concept to others, using either the Guide or a PowerPoint presentation based on the Guide.

       42.     Cabot's efforts to market the business and solicit advertisers took place both

before and following her resignation from Infosage, although at all times, she continued to hold

a 50% share of the corporate stock. Murphy was not informed and was unaware of these

overtures, and Cabot represented at these meetings that she was acting in partnership with Bach

in producing a parking guide.

       43.     They also envisioned expanding revenue sources for the project, including

advertising revenue from parking garages, nearby businesses and restaurants, and through an

expanded internet presence. Cabot recruited Joel Gwynn, an MIT software engineer, to work on

a website. Gwynn had created an internet product called Boston Sweeper, a database to alert

residents when there was scheduled street cleaning so they could remember to move their cars,

which he sold to Boston.com. Gwynn was instructed to create a website entitled "Where to Park

Boston" that would be available to paid customers and would display sectional city maps, the

location of parking lots and garages, parking rate information, and hours of operation.

Essentially, it would be an online version of the written Guide.

       44.     Moreover, as with the written guidebook, Cabot and Bach envisioned selling

advertising space to local garages, lots, and businesses. They established a rate schedule based

on the size and location of an ad, and as to online advertising, a monthly rate. As the concept

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developed, they envisioned offering advertisers (particularly parking garages) the ability to have

a mini-webpage on the Where to Park website where they could market their garages in real time.

       45.     By October, 2004, Gwynn developed a site, the content of which was identical to

the Infosage Guide (including maps) with additional space for advertisers.

        46.    At the same time, Howie Green continued to redesign the written guide book, also

using the Infosage material.

        47.    Cabot and Bach continued to redesign the parking guide project through the

summer and fall of 2004. Cabot met with various parking garage companies while Bach engaged

a public relations company to draft a press release targeted to potential advertisers.

        48.    An additional solicitation mechanism was the creation of a "board of advisors"

made up of prominent people in the industry, all of them friends of Bach, whose names would add

some allure to the project. Another graphic designer, Joe Whyman, was engaged to work on the

design and layout of the book, using data from the Infosage Guide.

        49.    Bach envisioned the guidebook to be the principal revenue producer for the venture

while Cabot talked about a greater online presence with more opportunity for generating revenue.

        50.    The internet at that point was still in its nascent stage and, except for Palm Pilots,

was not accessible by wireless technology. Notwithstanding their differing visions for the

company, Cabot and Bach continued with their design efforts, postponing for the moment their

disagreements about the corporate mission.

        51.    In the summer of 2004, Cabot and Bach agreed that they were essentially working

in a partnership to establish the Where to Park venture. They did not reduce their agreement to

writing until January, 2005.

        52.    At that time, Bach told Cabot that she needed some security in the project beyond
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a mere understanding between them. Bach prepared, and Cabot signed, a letter agreement creating

an equal partnership going forward, operating under the names Parking Media, Inc. and Where to

Park, Inc.

           53.   Neither corporation had yet been incorporated.

           54.   The agreement provided that all information and material constituted trade secrets

proprietary to their company and that neither woman would compete with each other or with the

company. At that time, Cabot and Bach hoped for a Spring, 2005 release of a new written

guidebook that they contemplated selling for just under $10 per copy.

           55.   In March, they prepared a projected five-year revenue forecast that would result in

a gross profit in 2009 of $53 million (the bulk coming from "garage membership fees"), with

owner's equity totaling $39.5 million. Also, in March, during a business lunch at the Colonnade

Hotel, Cabot intimated that there might be a “problem” with the Infosage maps and said that they

should obtain different maps for the book and website.

           56.   The maps used in various Where to Park prototypes, mock-ups, and website

postings were created by Murphy. Many of the Where to Park drafts contained neighborhood

maps that bore the language, "Copyright by Infosage, Inc." at the bottom of the map. Additionally,

as a safeguard to misappropriation, Murphy embedded several of his maps with fictitious names,

for instance, "Murphy Square," at the comer of Milk and Water Streets in the Financial District,

as a way of identifying his creation. Luckily for the venture, Google introduced web-based maps

that, by the summer of 2005, became open-source material, available for use to anyone without

license.

           57.   Prior to that time, however, there was a scramble to seek usable maps unrelated to

Infosage.
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       58.     Cabot's reluctance to use the Infosage maps and other design issues delayed the

roll-out of a new book. Bach enlisted Joel Gwynn to seek out new or different sources for

neighborhood maps which, once located, would require significant time and effort to incorporate

them onto the website. Gwynn expressed concern about the hours he had put into the website

without compensation for his labors. Because Cabot and Bach were operating on a shoestring

budget, and recognizing the importance of Gwynn's continued work, they discussed the possibility

of offering Gwynn an equity interest in their company. Bach and Cabot informed Gwynn that they

would give him some equity when the corporation was formed and Gwynn was adamant that he

receive it as a condition precedent to continuing his work.

       59.     In May, 2005, Cabot and Bach retained Attorney Patrick Jones of Gesmer

Updegrove, LLP, to assist in forming Where to Park and Parking Media as corporations, advising

them as to corporate formalities, and drafting various licensing and use agreements.

       60.     In various presentations to Boston parking vendors, including Standard Parking,

Fitzinn Parking Systems, and Friends of Post Office Square, Cabot and Bach had solicited interest

in their prototype guide and website under the name, "Where to Park, a Division of Parking Media,

Inc." even though no such corporate entity yet existed.

       61.     Cabot and Bach met and communicated with Jones on a variety of issues, including

Joel Gwynn's status. Towards the end of May, Cabot informed Bach that she no longer wanted to

give Gwynn an equity interest in the company, asking, "What's he going to do, sue us?" Bach

objected, saying that Gwynn had become an essential member of the venture, the only engineer,

and had already been promised a share in the profits for completed and future work.

       62.     Cabot's treatment of Gwynn created a wedge between Cabot and Bach. Their

relationship became acrimonious as each took actions (calls and meetings with third parties)
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without advising the other.

        63.     Unbeknownst to Bach, Cabot gave Gwynn a check for $2,000 on June 4, 2005,

endorsed (and receipted) as "payment in full" for Phase 1 work. Gwynn refused the check.

        64.     The hostile working relationship arose at a pivotal time in the corporate venture.

On June 6, 2005, Bach traveled to Nashville, Tennessee for a sales pitch to senior executives at

Central Parking, one of the nation's largest parking vendors.        She reported that the director of

procurement responded enthusiastically to the concept of a centralized parking marketplace and

did not balk at the cost of advertising; Bach stated that based on Central Parking's positive

response, she would seek a similar sales meeting with Standard Parking, another national parking

provider. Bach also indicated that she told Central parking that Where to Park was looking to roll

out the guide and website at the end of June.

        65.     The following day, June 7, 2005, Cabot (unbeknownst to Bach) sought advice from

Jones regarding Gwynn and Jason Whyman, the layout designer whose drafts of the guide were

flawed. Cabot told Jones that she questioned the quality of the work performed by both men and

was concerned about securing control over the website and its content. Jones appropriately e-

mailed Bach, summarizing the meeting and his recommendations.

        66.      In response, Bach defended the work of both consultants and suggested that given

the disagreements she had with Cabot regarding the venture's management, it might be time to

"split up 'the assets' such as they are."

        67.     Thereafter, Bach proposed splitting the venture into two components: Bach would

focus on aggregating parking information for Boston (and then nationally) on WheretoPark.com,

and Cabot would continue developing advertising opportunities for neighborhood businesses

which would be posted on the website. Jones e-mailed both parties stating that as corporate
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counsel, he could facilitate a splitting of the company so long as both sides agreed but could not

represent one side over the other.

        68.    On June 9, 2005, Cabot e-mailed Jones and Bach stating that she would accept

Bach's proposed division of the business on certain terms and conditions, most notably that if Bach

failed to meet certain milestones within fixed time periods, she would transfer 40% of her (50%)

equity interest in the company to Cabot, who would continue holding her own 50% share.

        69.    The fragile relationship between Cabot and Bach further ruptured when, between

June 8 and 10, 2005, Bob Murphy asserted copyright claims on behalf of Infosage. On June 9th,

Gwynn e-mailed Bach a link to the Infosage.com website, asking, "What's up with this. Did they

steal our idea or did we steal theirs?"

        70.    Bach communicated with Murphy by phone, e-mail, and in person over the next

twenty-four hours. Murphy informed Bach that Cabot had walked away from Infosage but did not

have any right to use the Guide materials, all of which were copyrighted to the corporation.

        71.    Bach e-mailed Cabot on June 9, 2005, accusing her of lying when she represented

that she had the right to use Infosage's proprietary data and engaging in a conflict of interest given

that she still held 50% of Infosage stock. Bach wrote, "Melanie, I do not want to be your partner,

everyone cannot be wrong . . . [and ending] . . . You may have a battle on more than one front here

and I think your record on this issue is well-established."

        72.    Both Bach and Cabot consulted with Attorney Jones; Cabot falsely stated in an e-

mail, "None of the artwork, sketches, photographs, drawings, and related visual compositions

developed by Infosage was ever used by Where to Park."

        73.    After June 10, 2005, there was no semblance of a working relationship between

Cabot and Bach. On June 20, 2005, Joel Gwynn wrote to Cabot asserting that Cabot breached her
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verbal agreement to give him an equity share of the company and claiming ownership interest in

any computer code that he developed pending appropriate compensation.

       74.     At that point, Cabot had removed the Where to Park website, but Gwynn had

disabled much of its content. At around the same time, Susan Bach formed a new company,

ParkingTools.com, in collaboration with Gwynn. Cabot was also working on a new company

using Google maps.

       75.     Cabot enlisted the aid of Gesmer Updegrove, LLP (Lee Gesmer, a named partner

taking over the matter from Patrick Jones) to bring suit against Gwynn, Bach, and

ParkingTools.com in Suffolk (Massachusetts) Superior Court.

       76.     The complaint, brought in the name of Parking Media, LLC, asserted claims of

breach of contract against Gwynn, intentional interference with contractual relations against

Gwynn and Bach, and other violations. In addition to damage claims, the complaint sought to

enjoin Gwynn from competing with Where to Park for a year, and from using any information

acquired from Where to Park.

       77.     On the recommendation of Gesmer, Cabot prepared a press release for distribution

to her business advisors and the media. In the release, Cabot accused Bach of sabotage and theft

of software code belonging to Where to Park.

       78.     Bach filed counterclaims against Cabot and Where to Park, Inc. in December, 2005.

One year later, in December, 2006, Murphy, individually and on behalf of Infosage, was permitted

to intervene and asserted claims against Cabot and Where to Park, Inc.

       79.     The Massachusetts court proceedings were stalled when, in August, 2007, Cabot

filed a bankruptcy petition in the Southern District of Florida, styled In re Melanie H. Cabot, Case

No. 07-16853-BKC-PGH (the “First Bankruptcy Case”). In her schedule of assets and liabilities
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in the First Bankruptcy Case, Cabot listed Susan Bach, Joel Gwynn, ParkingTools.com, Infosage,

Inc., and Rob [sic] Murphy as unsecured creditors in connection with the Suffolk litigation and

listed the "amount of claim" as to each as $350,000.

       80.     The debts that arose in favor of Bach, Murphy and Infosage, as described in the

above paragraphs, arose prior to the First Bankruptcy Case.

       81.     On July 9, 2009, Cabot, through her counsel, filed the Debtor’s Notice of Waiver

of Discharge in the First Bankruptcy Case [ECF No. 520 in the First Bankruptcy Case], whereby

Cabot waived her entitlement to a discharge, pursuant to 11 U.S.C. § 727(a)(10).

       82.     On August 18, 2009, the United States Bankruptcy Court in the First Bankruptcy

Case entered the Court’s Order Granting Debtor’s Motion to Approve Waiver of Discharge [ECF

No. 526 in the First Bankruptcy Case], which provided that Cabot’s discharge was denied.

       83.     In the end, Bach shut down her ParkingTools.com website; and Cabot’s Parking

Media, LLC lawsuit was dismissed with prejudice.

                          Damages Suffered by Murphy and Infosage

       84.     Prior to Cabot's departure in the beginning of 2004, Infosage had established its

website and printed 2,500 copies of its Guide. The obvious next step for the business was to

market and sell the printed book. It was critical to the sales model that the Infosage website was

operational since that was how orders for the Guide were received and paid for through credit

card payments.

       85.     When Cabot ordered Yurevich to disable the website, she effectively prevented

Infosage from selling its product, and further prevented payments from being processed by

refusing to provide Murphy with the company's credit card terminal. For all intents and

purposes, Cabot shut down the company for many months until Murphy was able to gain control
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over the website, redesign its content, and purchase a new terminal to process payments.

       86.     Further, delays in selling the Guide in a timely manner decreased its sales value

because by the time Murphy was able to get all of the pieces in place to aggressively sell the

book, information in the first edition, such as hourly rates or hours of operation, had in some

cases changed, and some parking sites had disappeared.

       87.     Viewed in this manner, Infosage's loss is largely based on its unsold inventory

of first-edition Guides (less shipping costs), which Murphy calculates to be $21,328.

       88.     Damages also include the costs associated with restoring the Infosage website

and processing book orders, to include $400 paid to Steady Vision, a website developer, and

$513.45 for the purchase of a replacement credit card terminal. Murphy/Infosage is further

entitled to reimbursement for the value of Murphy's time for the period from February or March,

2004 until November 28, 2004, during which Murphy had to direct his efforts to restoring

Infosage's website rather than actively marketing and selling the Guide.

       89.     Murphy dedicated 118.58 hours to undoing the harm caused by Cabot which, at

an eminently reasonable hourly value of $75, which totals $8,893.50. Added together, damages

due to Murphy and Infosage equal $31,134.95.

                                  Damages Suffered by Bach

       90.     Bach is entitled to damages based on Cabot's misrepresentations for the time period

from January, 2004 through July 19, 2004. During this six- and one-half-month period, Bach

worked on developing and improving the parking guide concept without any ownership interest

but with an expectation of some financial gain.          Whether considered under a theory of

misrepresentation or quantum meruit, the result is the same; Bach contributed her legal and

business acumen and spent monies to benefit the Where to Park venture, relying on Cabot's

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assurances that she had the unfettered right to pursue the business and make use of Infosage

material.

        91.    Bach spent 121.7 hours and had out-of-pocket expenses of $1,506.36 during this

time period. At an hourly rate of $75, Bach is entitled to damages totaling $9,127.50 for time and

$1,506.36 for expenses during this time period.

        92.    In addition, Bach has devoted 1,959.4 hours, and incurred expenses of $16,279.96,

to furthering the business between July 20, 2004 and June 9, 2005. Bach should be entitled to an

award of damages equal to at least 33.0% of the amount requested, which would result in an award

of $48,495.15 for Bach's time, and reimbursement of $16,279.96 in expenses.

        93.    Bach should also be entitled to an award of damages in the amount of $11,035.54

for Bach's time ($10,950) and expenses ($85.54) incurred between June 10-26, 2005. This time

period involved efforts by Bach to deal with revelations about the full scope of Infosage's copyright

interests, to confront Cabot and investigate her denials of Infosage's claims, and efforts to negotiate

a division of the Where to Park venture so that it could remain as a viable business.

        94.    Based on the foregoing, Bach suffered damages in the amount of $86,444.51,

reflecting $68,572.65 for her time, and $17,871.86 for expenses paid.

                                    The Superior Court Action

       95.     On March 29, 2018, the Superior Court of the Commonwealth of Massachusetts,

in the case(s) styled Susan Bach v. Melanie Cabot and Where to Park, Inc. and Infosage

Corporation and Bob Murphy v. Melanie Cabot and Where to Park, Inc., Case No. SUCV2005-

04042-D (the “State Court Case”), entered Findings of Fact, Rulings of Law, and Order for

Judgment After Jury Waived Trial (the “Findings of Fact”), which is attached hereto as Exhibit

“A”.
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       96.      The Findings of Fact establish that Cabot was liable for breach of fiduciary duty

and tortuous interference with advantageous business relationship, in favor of Murphy and

Infosage, with damages totaling $31,134.95.

       97.      The Findings of Fact also establish that Cabot was liable for breach of fiduciary

duty, fraud and breach of contract, in favor of Bach, with damages totaling $86,444.51.

       98.      On May 8, 2018, a Final Judgment was entered in the State Court Case, against

Cabot and in favor of Murphy, Infosage and Bach, in the amounts set forth above. A true and

correct copy of the Final Judgment is attached as Exhibit “B”.

                               Cabot’s Cyber-Harassment of Bach

       99.      Prior to the Petition Date, Cabot, in anticipation of a significant loss in the State

Court Case based on the actual evidence presented against her, and her complete lack of evidence

to support her false claims, established the website www.melaniecabotboston.com (the

“Website”).

       100.     The timing and continuing escalation of Ms. Cabot’s harassment though her

vexatious Website are coincident with Ms. Bach’s activity and Cabot’s bankruptcy petition in the

instant case.

       101.     The main subject of the Website established by Cabot is Bach.

       102.     The Website contains many false, misleading and defamatory claims relating to

Bach and even her deceased parents, her marriage, her personal and professional life and

information about where she lives.

       103.     Cabot is infringing upon a Cox Media copyright by embedding it in her Website.

Cox Media has demanded that she remove it and cease and desist from using it. Cabot has ignored

its demands.
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         104.   As stated above, Bach is a resident of Massachusetts and Cabot is a resident of

Florida.

         105.   Cabot’s conduct is willful and malicious, characterized by cruelty, hostility and/or

revenge.

         106.   By establishing the Website, Cabot engaged in a course of conduct directed at Bach,

which caused Bach substantial emotional distress and which served no legitimate purpose and is

intended to intimidate Bach from participating as a creditor and further intended to subvert the

instant adversary proceeding.

         107.   In continuously updating the Website with additional false claims, Cabot continues

her harassment of Bach.

         108.   Furthermore, by establishing and continuously expanding the false content on the

Website, Cabot communicated, or caused to be communicated, words, images, or language by or

through the use of electronic communication(s), directed at Bach, which caused substantial

emotional distress and which served no legitimate purpose and intimidate Bach from participating

in the bankruptcy process.

      Count 1 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(2)(A))
                               (As to Murphy and Infosage)

         109.   The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         110.   Cabot made false representations to Murphy and Infosage, with the intent to deceive

Murphy and Infosage.

         111.   Cabot knew or should have known that the representations were false at the time

they were made.

         112.   Murphy and Infosage relied on the misrepresentations.
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         113.   Such reliance was justified given the circumstances.

         114.   Murphy and Infosage sustained a loss as a result of the misrepresentation(s), as

detailed above.

         WHEREFORE, Murphy and Infosage request that this Court enter judgment against Cabot:

(a) determining that the debt owed by Cabot to Murphy and Infosage, in the principal amount of

$31,134.95, plus interest totaling $55,541.34 (as detailed in Claim No. 6-1), is non-dischargeable

pursuant to 11 U.S.C. §§ 523(a)(2)(A) and 1328(a)(2); and (b) granting such other and further

relief as the Court deems just and proper.

         Count 2 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(4))
                                (As to Murphy and Infosage)

         115.   The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         116.   The debt owed by Cabot to Murphy and Infosage was incurred due to Cabot’s fraud

or defalcation while acting in a fiduciary capacity.

         117.   Murphy and Infosage sustained a loss as a result of such fraud or defalcation while

acting in a fiduciary capacity.

         WHEREFORE, Murphy and Infosage request that this Court enter judgment against Cabot:

(a) determining that the debt owed by Cabot to Murphy and Infosage, in the principal amount of

$31,134.95, plus interest totaling $55,541.34 (as detailed in Claim No. 6-1), is non-dischargeable

pursuant to 11 U.S.C. §§ 523(a)(4) and 1328(a)(2); and (b) granting such other and further relief

as the Court deems just and proper.

      Count 3 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(2)(A))
                                       (As to Bach)

         118.   The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.


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         119.   Cabot made false representations to Bach, with the intent to deceive Bach.

         120.   Cabot knew or should have known that the representations were false at the time

they were made.

         121.   Bach relied on the misrepresentations.

         122.   Such reliance was justified given the circumstances.

         123.   Bach sustained a loss as a result of the misrepresentation(s), as detailed above.

         WHEREFORE, Bach requests that this Court enter judgment against Cabot: (a)

determining that the debt owed by Cabot to Bach, in the principal amount of $86,444.51, plus

interest totaling $154,207.52 (as detailed in Claim No. 7-1), is non-dischargeable pursuant to 11

U.S.C. §§ 523(a)(2)(A) and 1328(a)(2); and (b) granting such other and further relief as the Court

deems just and proper.

      Count 4 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(2)(B))
                                       (As to Bach)

         124.   The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         125.   The Cabot/Bach Letter of Agreement contained materially false statements

regarding Cabot’s supposed ownership of Infosage’s copyrighted content, which Cabot falsely

restated in an e-mail to their company counsel.

         126.   These statements were statements made in writing that were materially false,

respecting Cabot’s financial condition.

         127.   Bach reasonably relied on such statements.

         128.   Such reliance was justified given the circumstances.

         129.   Cabot made such statements with the intent to deceive.

         130.   Bach sustained a loss as a result of such statements, as detailed above.



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         WHEREFORE, Bach requests that this Court enter judgment against Cabot: (a)

determining that the debt owed by Cabot to Bach, in the principal amount of $86,444.51, plus

interest totaling $154,207.52 (as detailed in Claim No. 7-1), is non-dischargeable pursuant to 11

U.S.C. §§ 523(a)(2)(B) and 1328(a)(2); and (b) granting such other and further relief as the Court

deems just and proper.

         Count 5 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(4))
                                        (As to Bach)

         131.   The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         132.   The debt owed by Cabot to Bach was incurred due to Cabot’s fraud or defalcation

while acting in a fiduciary capacity.

         133.   Bach sustained a loss as a result of such fraud or defalcation while acting in a

fiduciary capacity.

         WHEREFORE, Bach requests that this Court enter judgment against Cabot: (a)

determining that the debt owed by Cabot to Bach, in the principal amount of $86,444.51, plus

interest totaling $154,207.52 (as detailed in Claim No. 7-1), is non-dischargeable pursuant to 11

U.S.C. §§ 523(a)(4) and 1328(a)(2); and (b) granting such other and further relief as the Court

deems just and proper.

         Count 6 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(6))
                                        (As to Bach)

         134.   The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         135.   The actions referenced above in establishing and continuously updating the

Website were intentional and done with the intent to harm Bach.

         136.   The actions referenced above in establishing the Website caused economic,

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emotional and physical damage to Bach, in an amount to be determined at trial.

         137.   Such injury(ies) were the proximate result of Cabot’s establishment of the Website.

         138.   As a result, the debt owing to Bach relating to the Website is non-dischargeable

pursuant to 11 U.S.C. § 523(a)(6), which is applicable herein through 11 U.S.C. § 1328(c) (in the

event that Cabot seeks the entry of a discharge pursuant to 11 U.S.C. § 1328(b)).

         WHEREFORE, Bach requests that this Court enter judgment against Cabot: (a)

determining that the debt owed by Cabot to Bach, relating to the Website, in an amount to be

determined at trial, is non-dischargeable pursuant to 11 U.S.C. §§ 523(a)(6) and 1328(c)(2); and

(b) granting such other and further relief as the Court deems just and proper.

         Count 7 – Objection to the Dischargeability of a Debt (11 U.S.C. § 523(a)(10))
                             (As to Bach, Murphy and Infosage)

         139.   The Plaintiffs reallege all of the allegations set forth in each of the paragraphs

above.

         140.   The debts owing to Bach, Murphy and Infosage were and/or could have been listed

or scheduled by Cabot in the First Bankruptcy Case.

         141.   As stated above, Cabot waived her discharge in the First Bankruptcy Case, and her

discharge was therefore denied.

         142.   As a result, the debts owing to Bach, Murphy and Infosage are non-dischargeable

pursuant to 11 U.S.C. § 523(a)(10), which is applicable herein through 11 U.S.C. § 1328(c) (in the

event that Cabot seeks the entry of a discharge pursuant to 11 U.S.C. § 1328(b)).

         WHEREFORE, Bach, Murphy and Infosage request that this Court enter judgment against

Cabot: (a) determining that the debt owed by Cabot to Bach, Murphy and Infosage, as referenced

above, are non-dischargeable pursuant to 11 U.S.C. §§ 523(a)(10) and 1328(c)(2); and (b) granting

such other and further relief as the Court deems just and proper.

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                                     Reservation of Rights

       Upon completion of their investigation and discovery, the Plaintiffs reserve the right to

amend this Complaint to assert any additional claims for relief against Cabot as may be warranted

under the circumstances and as permitted by law.

       Dated: December 18, 2020
                                                      LEIDERMAN SHELOMITH
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                                                      Counsel for the Plaintiffs
                                                      2699 Stirling Road, Suite C401
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                                                      Facsimile: (954) 920-5371

                                                      By:_________/s/______________
                                                            ZACH B. SHELOMITH
                                                            Florida Bar No. 0122548
                                                            zbs@lsaslaw.com




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